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11    UNITED STATES OF AMERICA

12                            UNITED STATES DISTRICT COURT

13                      FOR THE CENTRAL DISTRICT OF CALIFORNIA

14    UNITED STATES OF AMERICA,                CR FU $ 0:)                   1
15               Plaintiff,                    GOVERNMENT’S NOTICE OF REQUEST FOR
                                               DETENTION
16                    v.

17   DURK BANKS,
       aka “Lil Durk,”
18     aka “Blood,”
       aka “Mustafa Abdul Malak,”
19
                 Defendant.
20

21

22         Plaintiff, United States of America, by and through its counsel
23    of record, hereby requests detention of defendant and gives notice of
24    the following material factors:
25         1.    Temporary 10-day Detention Requested (§ 3142(d)) on the
26               following grounds:
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 1              a.    present offense committed while defendant was on release

 2                    pending (felony trial),

 3              b.    defendant is an alien not lawfully admitted for
 4                    permanent residence; and
 5

 6              c.    defendant may flee; or
 7              d.    pose a danger to another or the community.
 8         2.    Pretrial Detention Requested (§ 3142(e)) because no
 9               condition or combination of conditions will reasonably
10               assure:
11               a.    the appearance of the defendant as required;
12               b.    safety of any other person and the community.
13         3.    Detention Requested Pending Supervised Release/Probation
14               Revocation Hearing (Rules 32.1(a)(6), 46(d), and 18 U.S.C.
15               § 3143(a)):
16               a.    defendant cannot establish by clear and convincing
17                     evidence that he/she will not pose a danger to any
18                     other person or to the community;
19               b.    defendant cannot establish by clear and convincing
20                     evidence that he/she will not flee.
21         4.    Presumptions Applicable to Pretrial Detention (18 U.S.C.
22               § 3142(e)):
23               a.    Title 21 or Maritime Drug Law Enforcement Act (“MDLEA”)
24                     (46 U.S.C. App. 1901 et seq.) offense with 10-year or
25                     greater maximum penalty (presumption of danger to
26                     community and flight risk);
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 1               b.   offense under 18 U.S.C. §§ 924(c), 956(a), 2332b, or

 2                    2332b(g)(5)(B) with 10-year or greater maximum penalty

 3                    (presumption of danger to community and flight risk);

 4               c.   offense involving a minor victim under 18 U.S.C.
 5                    §§ 1201, 1591, 2241, 2242, 2244(a)(1), 2245, 2251,
 6                    2251A, 2252(a)(1)-(a)(3), 2252A(a)(1)-2252A(a)(4),
 7                    2260, 2421, 2422, 2423 or 2425 (presumption of danger
 8                    to community and flight risk);
 9               d.   defendant currently charged with an offense described
10                    in paragraph 5a - 5e below, AND defendant was
11                    previously convicted of an offense described in
12                    paragraph 5a - 5e below (whether Federal or
13                    State/local), AND that previous offense was committed
14                    while defendant was on release pending trial, AND the
15                    current offense was committed within five years of
16                    conviction or release from prison on the above-
17                    described previous conviction (presumption of danger to
18                    community).
19         5.    Government Is Entitled to Detention Hearing Under § 3142(f)
20               If the Case Involves:
21               a.   a crime of violence (as defined in 18 U.S.C.
22                    § 3156(a)(4)), a violation of 18 U.S.C. § 1591, or
23                    Federal crime of terrorism (as defined in 18 U.S.C.
24                    § 2332b(g)(5)(B)) for which maximum sentence is 10
25                    years’ imprisonment or more;
26               b.   an offense for which maximum sentence is life
27                    imprisonment or death;
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 1               c.   Title 21 or MDLEA offense for which maximum sentence is

 2                    10 years’ imprisonment or more;

 3               d.   any felony if defendant has two or more convictions for
 4                    a crime set forth in a-c above or for an offense under
 5                    state or local law that would qualify under a, b, or c
 6                    if federal jurisdiction were present, or a combination
 7                    or such offenses;
 8               e.   any felony not otherwise a crime of violence that
 9                    involves a minor victim or the possession or use of a
10                    firearm or destructive device (as defined in 18 U.S.C.
11                    § 921), or any other dangerous weapon, or involves a
12                    failure to register under 18 U.S.C. § 2250;
13               f.   serious risk defendant will flee;
14               g.   serious risk defendant will (obstruct or attempt to
15                    obstruct justice) or (threaten, injure, or intimidate
16                    prospective witness or juror, or attempt to do so).
17         6.    Government requests continuance of _____ days for detention
18               hearing under § 3142(f) and based upon the following
19               reason(s):
20

21

22

23

24    //
25    //
26    //
27    //
28    //
                                            4
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 1         7.    Good cause for continuance in excess of three days exists in

 2               that:

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 8     Dated: November 6, 2024              Respectfully submitted,
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